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      VIA ECF                                                                             May 27, 2022

     Honorable William F. Kuntz, II
     United States District Court
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, New York 11201

                      Re:    Haddad v. Halabi, et al., No. 1:22-cv-01906-WFK-RJC

     Dear Judge Kuntz:

             This firm represents Defendant Soly Halabi (misidentified in the Complaint as Sauli
     Halabi) in the above-referenced matter. We respectfully submit this letter jointly on behalf of our
     client and Plaintiff Hy Haddad (“Plaintiff’).

             Pursuant to Rule III(E)(1) of Your Honor’s Individual Motion Practices and Rules, we
     write to request that Your Honor approve the following agreed-upon briefing schedule with regard
     to a motion of Defendant Soly Halabi pursuant to FED. R. CIV. P. 11 (the “Motion”). Defendant
     Soly Halabi and Plaintiff Hy Haddad have agreed to the following briefing schedule:

             i)       June 17, 2022 – Plaintiff shall file his opposition to the Motion; and

             ii)      June 24, 2022 – Defendant Soly Halabi shall file his reply in support of the Motion.

             We thank Your Honor for your consideration of this request.

                                                                    Respectfully,


                                                                    By: /s/ Keith A. Lazere
                                                                    ANDERSON KILL P.C.
                                                                    Keith A. Lazere
                                                                    EDNY Bar Number ID: KL7870

     cc:     Maryam N. Hadden, Esq. (counsel for Plaintiff)
             Sheldon Eisenberger, Esq.
             Neil C. Schur, Esq. (admitted pro hac vice)



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